Case 1:10-cv-02641-REB-MEH Document 4 Filed 11/03/10 USDC Colorado Page 1 of 3



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02641-REB-MEH

  BERLINDA TRUJILLO,

         Plaintiff,
  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

         Defendant.


              MINUTE ORDER SETTING SCHEDULING CONFERENCE AND
               STANDING ORDER FOR ANY SETTLEMENT CONFERENCE

  Entered by Michael E. Hegarty, United States Magistrate Judge, on November 3, 2010.

         The above captioned case has been referred to Magistrate Judge Michael E. Hegarty pursuant
  to an Order of Reference entered by Judge Robert E. Blackburn on November 1, 2010.

         Pursuant to the Order of Reference, it is hereby ORDERED that the Fed. R. Civ. P. 16(b)
  Scheduling Conference shall be held on January 19, 2011, at 9:30 a.m. in Courtroom 203 on the
  second floor of the Byron G. Rogers United States Courthouse located at 1929 Stout Street, Denver,
  Colorado. If this date is not convenient, counsel should confer with opposing counsel and contact
  my Chambers to obtain an alternate date. Absent exceptional circumstances, no request for
  rescheduling will be entertained unless made five business days prior to the date of the conference.

          The plaintiff shall notify all parties who have not entered an appearance of the date and time
  of the Scheduling Conference.

         Lawyers whose offices are located outside of the Denver metropolitan area may appear at
  scheduling conferences by telephone. Please contact Chambers at (303) 844-4507 at least five
  business days prior to the scheduling conference to arrange appearance by telephone. Lawyers
  appearing by telephone must ensure that the proposed Scheduling Order is filed electronically
  and by email no later than five business days prior to the scheduling conference, in accordance
  with the instructions in this minute order.

         It is further ORDERED that counsel for the parties in this case are to hold a pre-
  scheduling conference meeting and jointly prepare a proposed Scheduling Order in accordance
  with Fed. R. Civ. P. 26(f) on or before December 29, 2010. Pursuant to Fed. R. Civ. P. 26(d),
  no discovery shall be submitted until after the pre-scheduling conference meeting, unless
  otherwise ordered or directed by the Court.
Case 1:10-cv-02641-REB-MEH Document 4 Filed 11/03/10 USDC Colorado Page 2 of 3



         The parties shall file the proposed Scheduling Order with the Clerk’s Office, and in
  accordance with District of Colorado Electronic Case Filing (“ECF”) Procedures V.L., no later
  than five (5) business days prior to the scheduling conference. The proposed Scheduling
  Order is also to be submitted in a useable format (i.e., Word or WordPerfect only) by email
  to Magistrate Judge Hegarty at Hegarty_Chambers@cod.uscourts.gov.

          Parties not participating in ECF shall file their proposed Scheduling Order on paper with
  the clerk’s office. However, if any party in this case is participating in ECF, it is the
  responsibility of that party to file the proposed scheduling order pursuant to the District of
  Colorado ECF Procedures.

         The parties shall prepare the proposed Scheduling Order in accordance with the
  form which may be downloaded from the Standardized Order Forms section of the Court’s
  website, found at http://www.cod.uscourts.gov/Forms.aspx. All Scheduling Conferences held
  before a Magistrate Judge utilize the same scheduling order format, regardless of the District
  Judge assigned to the case.

        Any out-of-state counsel shall comply with D.C. Colo. LCivR 83.3C prior to the
  Scheduling Conference.

           The parties are further advised that they shall not assume that the Court will grant the
  relief requested in any motion. Failure to appear at a Court-ordered conference or to comply
  with a Court-ordered deadline which has not be vacated by Court order may result in the
  imposition of sanctions.

         Finally, the parties or counsel attending the Conference should be prepared to informally
  discuss settlement of the case. There is no requirement to submit confidential settlement
  documents/letters to the Court beforehand or to have parties present who shall have full authority
  to negotiate all terms and demands presented by the case.

        Please remember that anyone seeking entry into the Byron G. Rogers United States
  Courthouse will be required to show a valid photo identification. See D.C. Colo. LCivR 83.2B.

          IT IS FURTHER ORDERED that any Settlement Conference held before this Court
  will be governed by the following Standing Order:

         Any settlement conference scheduled in this case will be held in Courtroom 203 on the
  second floor of the Byron G. Rogers United States Courthouse, 1929 Stout Street, Denver,
  Colorado. Parties should check-in with Chambers upon arrival using the intercom to the left of
  the second floor elevators.

          Counsel shall have all parties present, including all individually named parties or a
  representative of each named entity. Counsel shall also have in attendance all individuals with
  full authority to negotiate all terms and demands presented by the case, and full authority to enter
  into a settlement agreement, including, but not limited to, an adjustor, if an insurance company is
  involved. “Full authority” means that the person who attends the settlement conference has the


                                                    2
Case 1:10-cv-02641-REB-MEH Document 4 Filed 11/03/10 USDC Colorado Page 3 of 3



  complete and unfettered capacity and authority to meet or pay all terms or amounts which are
  demanded or sought by the other side of the case without consulting with some other person,
  committee or agency. If any person has limits upon the extent or amount within which he or she
  is authorized to settle on behalf of a party, that person does not have “full authority.” This
  requirement is not fulfilled by the presence of counsel and/or an insurance adjustor alone.

           In exceptional circumstances only, the appearance of insurance representative by
  telephone may be approved in advance of the conference. Any party seeking such relief should
  file the appropriate motion with the Court.

          No person is ever required to settle a case on any particular terms or amounts. However,
  both parties must participate in the settlement conference in good faith, pursuant to Fed. R. Civ.
  P. 16(f). If any party or party representative attends the settlement conference without full
  authority, fails to attend the settlement conference without prior Court approval, or fails to
  participate in the conference in good faith, and the case fails to settle, that party may be ordered
  to pay the attorney’s fees and costs for the other side. If one or both parties believe that the
  matter may not be ripe for negotiations, counsel should confer with the opposing party(ies)
  and contact Chambers prior to the conference to reschedule the settlement conference to a
  more appropriate time.

          In order that productive settlement discussions can be held, counsel shall prepare and
  submit two settlement documents: one to be submitted to the other party or parties, and the other
  to be submitted by email only to the Magistrate Judge. The documents which are presented to
  opposing counsel shall contain an overview of the case from the presenter’s point of view, shall
  summarize the evidence which support that side’s claims and may present a demand or offer.
  These documents should be intended to persuade the clients and counsel on the other side.

          The document, to be emailed to the Magistrate Judge (not submitted for filing to the
  court) at Hegarty_Chambers@cod.uscourts.gov, shall contain copies of the above materials, but
  additionally shall contain any confidential comments which counsel wishes to make, any
  comments with regard to perceived weaknesses in the case and any comments which would be
  helpful to the Magistrate Judge in assisting the parties to negotiate a settlement. The settlement
  documents shall be submitted no later than five business days prior to the date of the settlement
  conference. Statements and exhibits consisting of more than 30 pages are to be submitted to
  Chambers in hard copy via regular mail or hand delivery.

          Again, please remember that anyone seeking entry into the Byron G. Rogers United
  States Courthouse will be required to show a valid photo identification. See D.C. Colo. LCivR
  83.2B.




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